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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  UNITED STATES OF AMERICA
                                                          Case Nos. 12 CR 723, 13 CR 703,
         v.                                                          and 15 CR 487

 ADEL DAOUD                                               Judge Sharon Johnson Coleman


                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Thursday, January 16, 2020 at 1:30 p.m. or as soon

thereafter as counsel may be heard, I will appear before the Honorable Sharon Johnson Coleman in

the courtroom usually occupied by her in the Everett McKinley Dirksen United States Courthouse,

219 South Dearborn Street, Chicago, Illinois, or before such other judge who may be sitting in her

place and stead, and then and there present: UNOPPOSED MOTION TO SUPPLEMENT

ORIGINAL ELECTRONIC RECORD ON APPEAL in the above-captioned case, at which time

and place you may appear if you see fit.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, JR.
                                             United States Attorney

                                     By:     /s/ Georgia N. Alexakis
                                             GEORGIA N. ALEXAKIS
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 Date: January 7, 2020
